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AO 245B (Rev. 6/05 - Judgment in a Criminal Case



                                           United States District Court
                                               Northern District of California


          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                      v.
                   FEI YE                                                USDC Case Number: CR-02-20145-001
                                                                                                        JW
                  AKA YE FEI                                             BOP Case Number: DCAN502CR020145-001
                                                                         USM Number:      99636-111
                                                                         Defendant’s Attorney :Paul Meltzer


THE DEFENDANT:
[x]       pleaded guilty to count(s): TWO (2) and FOUR (4) of the Indictment .
[]        pleaded nolo contendere to count(s)     which was accepted by the court.
[]        was found guilty on count(s)    after a plea of not guilty.

The defendant is adjudicated guilty of these offense(s):

                                                                                                          Offense
 Title & Section                            Nature of Offense                                             Ended                Count

 18 U.S.C. §§ 1831 (a)(3) and 2             Economic Espionage, Aiding and Abetting, a             November 23, 2001            TWO
                                            Class C felony

 18 U.S.C. §§ 1831 (a)(3) and 2             Economic Espionage, Aiding and Abetting, a             November 23, 2001           FOUR
                                            Class C felony

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[]        The defendant has been found not guilty on count(s)        .

[x]       Count(s) ONE (1), THREE (3), and FIVE (5) through TEN (10) of the Indictment are dismissed on the motion of the United
          States.

         IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of any material changes in economic circumstances.

                                                                                                       11/21/2008
                                                                                             Date of Imposition of Judgment


                                                                                               Signature of Judicial Officer

                                                                                      Honorable James Ware, U. S. District Judge
                                                                                          Name & Title of Judicial Officer

                                                                                                   November 25, 2008
                                                                                                        Date
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AO 245B (Rev. 12/03) (CAND Rev. 3/07) Judgment in a Criminal Case Sheet 2 - Imprisonment

DEFENDANT:                    FEI YE                                                                       Judgment - Page 2 of 6
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                                                            IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE (1) YEAR AND ONE (1) DAY .
          This term is as to Counts TWO and FOUR with all counts to be served concurrently with each other.

[]        The Court makes the following recommendations to the Bureau of Prisons:

[]        The defendant is remanded to the custody of the United States Marshal. The appearance bond is hereby
          exonerated.

[]        The defendant shall surrender to the United States Marshal for this district.

          [ ] at     [] am [] pm on .
          [ ] as notified by the United States Marshal.

          The appearance bond shall be deemed exonerated upon the surrender of the defendant.

[x]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
          Prisons:

          [x] before 2:00 pm on 11/23/2009 .
          [ ] as notified by the United States Marshal.
          [ ] as notified by the Probation or Pretrial Services Office.

          The appearance bond shall be deemed exonerated upon the surrender of the defendant.

                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

at                                                       , with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL

                                                                                           By
                                                                                                Deputy United States Marshal
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AO 245B (Rev. 12/03) Judgment in a Criminal Case Sheet 3 - Supervised Release

DEFENDANT:                     FEI YE                                                                      Judgment - Page 3 of 6
CASE NUMBER:                   CR-02-20145-001 JW

                                                          SUPERVISED RELEASE

          Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) YEARS .
          This term is as to Counts TWO and FOUR with all counts to be served concurrently with each other.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and two periodic drug tests
thereafter.
[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check if applicable.)
[x]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check if
         applicable.)
[x]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check if applicable.)
[]       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
         is a student, as directed by the probation officer. (Check if applicable.)
[]       The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions in this judgment.
                                                         STANDARD CONDITIONS
1)    The defendant shall not leave the judicial district without permission of the court or probation officer;
2)    The defendant shall report to the probation officer, and shall submit a truthful and complete written report within the first five
      days of each month;
3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    The defendant shall support his or her dependants and meet other family responsibilities;
5)    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
      other acceptable reasons;
6)    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation
      of any contraband observed in plain view of the probation officer;
11)   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the Court; and
13)   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant’s compliance with such notification requirement.
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AO 245B (Rev. 12/03) Judgment in a Criminal Case Sheet 3 - Supervised Release

DEFENDANT:                     FEI YE                                                   Judgment - Page 4 of 6
CASE NUMBER:                   CR-02-20145-001 JW

                                            SPECIAL CONDITIONS OF SUPERVISION

1) The defendant shall not have contact with any co-defendant, in this case namely, Ming Zhong, except to the
extent necessary to fulfill any obligation to the government.

2) The defendant shall pay any special assessment that is imposed by this judgment and that remains unpaid at
the commencement of the term of supervised release

3) The defendant shall provide the probation officer access to any requested financial information, including tax
returns, and shall authorize the probation office to conduct credit checks and obtain copies of income tax
returns.

4) The defendant shall submit his/her person, residence, office, vehicle, or any property under his control to a
search. Such a search shall be conducted by a United States Probation Officer at a reasonable time and in a
reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
release. Failure to submit to such a search may be grounds for revocation; the defendant shall warn any
residents that the premises may be subject to searches.

5) The defendant shall not own or possess any firearms, ammunition, destructive devices, or other dangerous
weapons.

6) The defendant shall cooperate in the collection of DNA as directed by the probation officer.
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AO 245B (Rev. 12/03) - Judgment in a Criminal Case - sheet 6 - Schedule of Payments

DEFENDANT:                       FEI YE AKA YE FEI                                                                              Judgment - Page 5 of 6
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                                          CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                        Assessment                 Fine               Restitution

      Totals:                                               $ 200.00                             $ 0.00                           $ 0.00


[ ] The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case (AO 245C)
    will be entered after such determination.

[ ] The defendant shall make restitution (including community restitution) to the following payees in the
amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportional payment
unless specified otherwise in the priority order or percentage payment column below. However, pursuant to 18
U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.


 Name of Payee                                                      Total Loss*               Restitution Ordered               Priority or Percentage



                     Totals:                            $                   $



[ ] Restitution amount ordered pursuant to plea agreement $

[ ] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine
    is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All
    of the payment options on Sheet 6, may be subject to penalties for delinquency and default, pursuant to 18
    U.S.C. § 3612(g).

[ ] The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

      [ ] the interest requirement is waived for the                            [ ] fine      [ ] restitution.

      [ ] the interest requirement for the                      [ ] fine          [ ] restitution is modified as follows:




 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
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AO 245B (Rev. 12/03) - Judgment in a Criminal Case - sheet 6 - Schedule of Payments

DEFENDANT:                        FEI YE AKA YE FEI                                                                                   Judgment - Page 6 of 6
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                                                       SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A     [x] Lump sum payment of $200.00 due immediately, balance due

      []      not later than              , or

      [x] in accordance with ( ) C, ( ) D, ( ) E or (x ) F below; or

B     [ ] Payment to begin immediately (may be combined with ( ) C, ( ) D, or ( ) F below); or

C     [ ] Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of                                                          (e.g., months
          or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D     [ ] Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of (e.g., months
          or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision;
          or

E     [ ] Payment during the term of supervised release will commence within (e,g, 30 or 60 days) after release
          from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability
          to pay at that time; or

F     [x] Special instructions regarding the payment of criminal monetary penalties:

The Defendant shall pay to the United States a special assessment of $100. While incarcerated, payment of criminal
monetary penalties are due during imprisonment at the rate of not less than $25 per quarter and payment shall be
through the Bureau of Prisons Inmate Financial Responsibility Program. Criminal monetary payments shall be
made to the Clerk of the U.S. District Court, 450 Golden Gate Ave, Box 36060, San Francisco, CA 94102.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.
    [ ] Joint and Several

         Defendant and co-                Case Numbers                     Total Amount                     Joint and Several                Corresponding
         defendant Names                  (including                                                        Amount                           Payee (if
                                          defendant number)                                                                                  appropriate)


       []     The defendant shall pay the cost of prosecution.
       []     The defendant shall pay the following court cost(s):
       []     The defendant shall forfeit the defendant's interest in the following property to the United States:
       •      Any items that were seized by law enforcement officials in November 2001 at the San Francisco
              International Airport



  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest, (6) community
restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
